Case 1:21-cv-02083-JKB Document 2 Filed 08/17/21 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

People for he Ethical Treatment of Animas, Inc. *

Plaintiff,

 

v. Case No.

 

Shore Transit, et al.
Defendant. *

 

MOTION FOR ADMISSION PRO HAC VICE
I, Robin R. Cockey , am a member in good standing of the bar of this

Court. I am moving the admission of Brian M. Hauss

to appear pro hac vice in this case as counsel for People for the Ethical Treatment of Animals, Inc. (PETA) |

 

We certify that:

1. The proposed admittee is not a member of the Maryland bar and does not maintain
any law office in Maryland

2. The proposed admittee is a member in good standing of the bars of the following
State Courts and/or United States Courts:

State Court & Date of Admission U.S. Court & Date of Admission

see attachment. see attachment.

 

 

 

 

3. During the twelve months immediately preceding this motion, the proposed admittee
has been admitted pro hac vice in this Court 9 time(s).

4. The proposed admittee has never been disbarred, suspended, or denied admission to
practice law in any jurisdiction. (NOTE: If the proposed admittee has been
disbarred, suspended, or denied admission to practice law in any jurisdiction, then
he/she must submit a statement fully explaining all relevant facts.)

5. The proposed admittee is familiar with the Maryland Attorneys’ Rules of Professional
Conduct, the Federal Rules of Civil Procedure, the Federal Rules of Evidence, the
Federal Rules of Appellate Procedure, and the Local Rules of this Court, and
understands he/she shail be subject to the disciplinary jurisdiction of this Court.

PH¥Motion (12/2018) Page loft
Case 1:21-cv-02083-JKB Document 2 Filed 08/17/21 Page 2 of 3

6. The proposed admittee understands admission pro hac vice is for this case only and
does not constitute formal admission to the bar of this Court.

7. Either the undersigned movant or

 

is also a member of the bar of this Court in good standing, and will serve as co-

counsel in these proceedings.

8. The $100.00 fee for admission pro hac vice accompanies this motion.

9. We hereby certify under penalties of perjury that the foregoing statements are true

and correct.

MOVANT

 

fs!

Signature
Robin R. Cockey, Bar No. 02657

PROPOSED ADMITTEE

 

 

Printed name and bar number

Cockey, Brennan & Maloney, PC

isf Es

Signature

Brian M. Hauss

 

 

Office name

313 Lemmon Hill Lane, Salisbury, MD 21801

 

Address

410.546.1750

 

Telephone number

410.546.1811

 

Fax Number
rrcesq@cbmlawfirm.com

 

Email Address

PHVMotion {12/2018}

Printed name

American Civil Liberties Union Foundation

 

Office name

125 Broad Street, New York, NY 10004
Address

212.549.2500

Telephone number

212.549.2654

Fax Number

bhauss@aclu.org
Email Address

 

 

 

 

Page Zof2
Case 1:21-cv-02083-JKB Document 2 Filed 08/17/21 Page 3 of 3

Brian Matthew Hauss Court Admissions

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Court Admission | Bar No.
Date

California (inactive) 12/11/2012 284759
New York 05/18/2016 5437751
Northern District of 04/07/2016
California
Eastern District of 05/11/2016
Michigan
Northern District of Texas | 11/15/2016
Southern District of New 08/30/2016 BH886l
York

District of North Dakota | 01/04/2017
Unites States Supreme 11/29/2017
Court
Third Circuit Court of 08/29/2018
Appeals
Ninth Circuit Court of 10/09/2018
Appeals
Fifth Circuit court of 11/27/2019
Appeals
Eight Circuit Court of 03/05/2019
Appeals
Second Circuit Court of 12/02/2020
Appeals
First Circuit Court of 01/27/2021
Appeals
Fourth Circuit Court of 05/20/2021

Appeals

 

 

 

 
